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                   United States Court of Appeals
                                 FIFTH CIRCUIT
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                              May 08, 2023


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     No. 23-60069      State of Texas v. EPA
                       Agency No. 88 Fed. Reg. 9336-9384


Dear Mr. Abrams, Ms. Berge, Mrs. Clark, Mr. Cole, Mr. Davis, Mr.
Ennis, Mr. Gidiere, Ms. Hall, Mrs. Harbourt, Ms. Jezouit, Mr.
Kuryla, Mr. Lee, Mr. Little, Mr. Matheny, Mr. Mazzara, Mr.
McPhee, Mr. Moore, Ms. Murrill, Mr. St. John, Mr. Streett, Ms.
Stutts,
We have filed the certified list.        ALL PETITIONERS BRIEF AND
EXCERPTS ARE DUE May 30, 2023, See Fed. R. App. P. and 5th Cir. R.
28, 30 and 31. Except in the most extraordinary circumstances,
the maximum extension for filing briefs is 40 days in agency cases.
See also 5th Cir. R. 30.1.2 and 5th Cir. R. 31.1 to determine if you
have to file electronic copies of the brief and record excerpts,
and the Portable Document Format (PDF) you MUST use. See also 5th
Cir. R. 30.1 for the contents of the Record Excerpts which are
filed instead of an appendix.        You may access our briefing
checklist      on       the       Fifth       Circuit’s      website
"http://www.ca5.uscourts.gov/docs/
default-source/forms-and-documents---clerks-office/rules/
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brchecklist.pdf". An intervenor’s time is governed by 5th Cir. R.
31.2.   5th Cir. R. 42.3.2 allows the clerk to dismiss appeals
without notice if the brief is not filed on time.
The caption for this appeal is attached, and we ask you to use it
on any briefs filed with this court.
Because this case is proceeding on a certified list of documents
instead of the record, see 5th Cir. R. 30.2. Petitioner must obtain
a copy of the portions of the record relied upon by the parties in
their briefs, and file them within 21 days from the date of filing
of respondent’s brief, with suitable covers, numbering and
indexing.
Brief Template: The clerk’s office offers brief templates and the
ability to check the brief for potential deficiencies prior to
docketing to assist in the preparation of the brief. To access
these options, log in to CM/ECF and from the Utilities menu, select
‘Brief Template’ (Counsel Only) or ‘PDF Check Document’.
Reminder as to Sealing Documents on Appeal: Our court has a strong
presumption of public access to our court’s records, and the court
scrutinizes any request by a party to seal pleadings, record
excerpts, or other documents on our court docket. Counsel moving
to seal matters must explain in particularity the necessity for
sealing in our court. Counsel do not satisfy this burden by simply
stating that the originating court sealed the matter, as the
circumstances that justified sealing in the originating court may
have changed or may not apply in an appellate proceeding. It is
the obligation of counsel to justify a request to file under seal,
just as it is their obligation to notify the court whenever sealing
is no longer necessary.     An unopposed motion to seal does not
obviate a counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk


                                By: _________________________
                                Majella A. Sutton, Deputy Clerk
                                504-310-7680
Enclosure(s)
cc w/encl:
     Mr. David R. Baake
     Mr. Merrick Garland, U.S. Attorney General
     Mr. Todd Sunhwae Kim
     Ms. Jin Hyung Lee
     Mr. Jeffrey Prieto
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                          Case No. 23-60069




State of Texas; Texas Commission on Environmental Quality;
Luminant Generation Company, L.L.C.; Coleto Creek Power, L.L.C.;
Ennis Power Company, L.L.C.; Hays Energy, L.L.C.; Midlothian
Energy, L.L.C.; Oak Grove Management Company, L.L.C.; Wise
County Power Company, L.L.C.; Association of Electric Companies
of Texas; BCCA Appeal Group; Texas Chemical Council; Texas Oil &
Gas Association; Public Utility Commission of Texas; Railroad
Commission of Texas; State of Mississippi; Mississippi
Department of Environmental Quality; Mississippi Power Company;
State of Louisiana; Louisiana Department of Environmental
Quality; Entergy Louisiana, L.L.C.; Louisiana Chemical
Association; Mid-Continent Oil and Gas Association; Louisiana
Electric Utility Environmental Group, L.L.C.; Texas Lehigh
Cement Company, LP,
                      Petitioners
v.
United States Environmental Protection Agency; Michael S. Regan,
Administrator, United States Environmental Protection Agency,
                      Respondents
